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                                                        U.S. Department of Justice

                                                        MATTHEW M. GRAVES
                                                        United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


                                                   December 10, 2021
HAND DELIVERED

Brandon Fellows
Inmate #377943
IN CARE OF:
Litigation Support
Kimberlee Smith or Ingrid Washington
1901 D Street SE
Washington, DC 20003


       Re:     Pro Se Discovery 1 in United States v. Brandon Fellows
               Case No. 21-cr-83 TNM
Mr. Fellows:

Enclosed you will find a two thumb drives containing:

   •   5 United States Capitol Police surveillance videos [Thumb Drive 1]:
   •   The download of your TikTok account obtained through a search warrant [Thumb Drive
       1];
   •   1 video from DLive/Baked Alaska taken on January 6, 2021 depicting the Senate Wing
       Door near S 139 where you entered [Thumb Drive 1].

Also enclosed are the following documents containing:

   •   1 FBI 302 of interviews with two USCP officers at the Senate Wing Door at the
       approximate time you entered the building through the Senate Wing Door window
       [Thumb Drive 1 – “Discovery 26”];
   •   1 FBI 302 Serial 48 documenting the CART examiner’s inability to access your cell
       phone to download it [Thumb Drive 1 – “Discovery 26”;
   •   1 email dated March 29, 2021 to Cara Halverson in which Serial 48 was provided in
       discovery [Thumb Drive 1 – “Discovery 26”];
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   •   Word document summarizing conversations of AUSA Furst with CART examiner;
       concerning his inability to access the cell phone [Thumb Drive 1 – “Discovery 26”];

       I am also sending your standby counsel the same items via USAfx as noted below:




        In addition to the above mentioned items, the following items from previously disclosed
global productions are being provided. Please, remember that the global discovery items
provided do not constitute the entire production of each global production. These are the items
that you are allowed to view without supervision.

   •   35 files consisting of 28 reports from U.S. Capitol Police (USCP) Office of Professional
       Responsibility (“OPR”) investigations of alleged wrongdoing by USCP officers on
       January 6, 2021. (CAPD_000000001- CAPD_000000848.) [Thumb Drive 1 - Global
       Discovery 1]
   •   Files consisting of digital exhibits to previously produced USCP OPR reports (second
       production folder on Sept. 24): Bates 1588-1595; 1597-1598; 1602; 1607. [Thumb Drive
       2 – Global Discovery 2]
   •   15 maps of the interior of Capitol Visitor’s Center and the interior of the Capitol, all of
       which are designated Highly Sensitive under the protective order. (CAPD_0001648 -
       CAPD_0001662). [Thumb Drive 1 – Global Discovery 4 – US Capitol Camera Maps]


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•   U.S. Capitol Police Radio Communications on Main Ops 1 and 2 (CAPD_0001615 -
    CAPD_0001616, respectively), which are also Exhibit 7 to USCP Office of Professional
    Responsibility Report (“OPR”) 21-006A (previously provided). These items are
    designated Sensitive under the protective order. [Thumb Drive 1 – Global Discovery 4 -
    US Capitol Police Radio Communications and Exhibits to OPR Reports]
•   Draft transcripts of the radio communications described above. These items are also
    designated Sensitive under the protective order. (CAPD_0001663 - CAPD_0001664).
    [Thumb Drive 1 – Global Discovery 4 - US Capitol Police Radio Communications and
    Exhibits to OPR Reports]
•   11 additional digital exhibits (6 audio, 3 videos, and 2 images) to previously produced
    USCP OPR reports. The applicable sensitivity designation for each exhibit is listed in the
    index (CAPD_0001617, CAPD_0001620-CAPD_0001623, CAPD_0001627,
    CAPD_0001634, CAPD_0001639, CAPD_0001644, CAPD_0001645, CAPD_0001647).
    [Thumb Drive 1 – Global Discovery 4 - US Capitol Police Radio Communications and
    Exhibits to OPR Reports AND Additional OPR Exhibits]
•   Metropolitan Police Department (“MPD”) Radio Global Positioning Satellite (“GPS”)
    Spreadsheet. This item is designated Sensitive under the protective order.
    (CAPD_0001665). [Thumb Drive 1 – Global Discovery 4]
•   Ten aerial surveillance images received from the Metropolitan Police Department.
    (CAPD_0001667 to CAPD_0001676). [Thumb Drive 1 – Global Discovery 5 -
    DOJCB_005 10.22.2021]
•   Six demonstration permits received from the U.S. Capitol Police. (CAPD_0001677 to
    CAPD_0001753). [Thumb Drive 1 – Global Discovery 5 - DOJCB_005 10.22.2021]
•   A spreadsheet containing the filenames/titles, starting times, video length, and date of the
    USSS video contained in FPD_USSS 001. This spreadsheet is work product that was
    created by the Discovery Team (CAPD_0001768). [Thumb Drive 1 – Global Discovery
    5 - DOJCB_005 10.22.2021]
•   30 digital audio files consisting of 30 hours of Metropolitan Police Department (“MPD”)
    radio transmissions (Special Operations Division (“SOD”) channel), beginning on
    January 6, 2021, at 12:00 a.m. and ending January 7, 2021 at 6:00 a.m.
    (CAPD_000001769 to CAPD_000001798). These files are designated Sensitive under
    the protective order. [Thumb Drive 1 – Global Discovery 6 - DOJCB_006 MPD Radio
    Transmissions]
•   A 673-page transcript of the MPD radio transmissions (SOD channel).
    (CAPD_000001799 to CAPD_000002471). This file is designated Sensitive under the
    protective order. To facilitate your review, we have attached an index that associates the
    Bates number for each audio file with the relevant pages of the transcript. [Thumb Drive
    1 – Global Discovery 6]
•   U.S. Capitol Police after-action reports (176 pages, redacted). This file is designated
    Sensitive under the protective order. (CAPD_000002472 to CAPD_000002647).
    [Thumb Drive 1 – Global Discovery 6]
•   159 documents largely consisting of Federal Bureau of Investigation reports of interview
    of law enforcement officers about their experiences on January 6, 2021, and
    accompanying exhibits. These documents are designated Sensitive under the protective
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       order. (CAPD_000002648 to CAPD_000002902). [Thumb Drive 1 – Global Discovery 7
       - DOJCB_007 FBI Reports of Officer Interviews]
   •   Detailed Zone Maps of Zone A (US Capitol) and Zone B (Terrace) for Body Worn
       Camera. (CAPD_000003191 and CAPD_000003192). These maps are designated
       Sensitive under the protective order. (The Zone Map of the exterior of the Capitol
       (CAPD_0001666) was produced in Global Production No. 5.) All three Zone Maps are
       U.S. Attorney’s Office (“USAO”) Work Product. [Thumb Drive 1 – Global Discovery 8 -
       DOJCB008-05]
   •   Body Worn Camera (“BWC”) Summary Spreadsheet Version 1 - USAO Work Product
       (CAPD_000003190). This document is designated Sensitive under the protective order.
       [Thumb Drive 1 – Global Discovery 8 - DOJCB008-05]
   •   2 new reports and 16 associated exhibits (8 video, 8 audio) of U.S. Capitol Police (USCP)
       investigations of alleged wrongdoing by USCP officers on January 6, 2021. Officer
       names, witness names, and complainant names have been redacted. These are
       supplements to our original production of reports on September 10, 2021. The Bates
       numbers are reflected in the attached index [Thumb Drives 1 and 3 – Global Discovery 8]
   •   40 additional digital exhibits (30 audio, 7 videos, and 3 PDFs) to previously produced
       USCP OPR reports. The applicable sensitivity designation for each exhibit is listed in the
       index. These are supplements to our productions of September 10 and October 15, 2021.
       [Thumb Drives 1 and 3 – Global Discovery 8]

      If you have any questions, please feel free to contact me at mona.furst@usdoj.gov or 316-
269-6537.

                                                   Sincerely,

                                                   /s/ Mona Lee M. Furst
                                                   Mona Lee M. Furst
                                                   Assistant United States Attorney


Enclosure(s)
cc: Cara Halverson, AFPD




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